                    Case 3:19-cv-00620-AWT Document 30 Filed 05/03/19 Page 1 of 1
                                                                                                         Civil- (Dec-2008)
                                                       HONORABLE:      Alvin W. Thompson
                            DEPUTY CLERK L. S. Ferguson              RPTR/ECRO/TAPE C. Thompson
TOTAL TIME: 1                hours 27   minutes
                               DATE:  5/3/19         START TIME: 3:43 pm        END TIME: 5:10 pm
                                                  LUNCH RECESS         FROM:            TO:
                                          RECESS (if more than ½ hr)   FROM:            TO:

CIVIL NO. 3:19-cv-00620-AWT


            John Doe                                                        Jorge Hernandez
                                                                                   Plaintiff’s Counsel
                               vs
            Yale University et al                                           Patrick M. Noonan
                                                                                   Defendant’s Counsel

                                         COURTROOM MINUTES- CIVIL

                   ✔ Motion hearing                         Show Cause Hearing
                       Evidentiary Hearing                  Judgment Debtor Exam
                       Miscellaneous Hearing

✔ .....# 4         Motion for Temporary Restraining Order                      granted ✔ denied          advisement
   .....#          Motion                                                      granted      denied       advisement
   .....#          Motion                                                      granted      denied       advisement
   .....#          Motion                                                      granted      denied       advisement
   .....#          Motion                                                      granted      denied       advisement
   .....#          Motion                                                      granted      denied       advisement
   .....#          Motion                                                      granted      denied       advisement
   .....           Oral Motion                                                 granted      denied       advisement
   .....           Oral Motion                                                 granted      denied       advisement
   .....           Oral Motion                                                 granted      denied       advisement
  .....            Oral Motion                                                 granted      denied       advisement
   .....              Briefs(s) due                 Proposed Findings due                Response due
  .............                                                                                  filed   docketed
  .............                                                                                  filed   docketed
  .............                                                                                  filed   docketed
  .............                                                                                  filed    docketed
   .............                                                                                 filed   docketed
   .............                                                                                 filed   docketed
   ............                          Hearing continued until                            at
